    Case 2:12-cv-00859-LMA-MBN Document 1163 Filed 06/12/18 Page 1 of 2



MINUTE ENTRY
AFRICK, J.
June 12, 2018
JS-10 1:00

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                               CIVIL ACTION

VERSUS                                                                    No. 12-859

MARLIN GUSMAN, ET AL.                                                    SECTION I


      A status conference was held in chambers today with the monitors, Sheriff

Marlin Gusman, Acting Compliance Director Darnley Hodge, representatives from

Correct Care Solutions (“CCS”), U.S. Magistrate Judge Michael North, and New

Orleans City Attorney Sunni LeBeouf participating. The Court and the participants

discussed the status of the consent decree, with particular focus on medical and

mental health treatment for female inmates.

      Pursuant to conference discussions, a task force shall be assembled to address

the care and treatment of female inmates’ medical and mental health issues. The task

force will consist of: three monitors, Susan Campbell, Dr. Raymond Patterson, and

Dr. Robert Greifinger; representatives from CCS; New Orleans City Attorney Sunni

LeBeouf; a representative from the Compliance Director’s office; a representative

from the Sheriff’s office; and a representative of the plaintiffs as well as from the

intervenor-plaintiff, the U.S. Department of Justice. Dr. Robert Greifinger will chair

the committee.

      New Orleans, Louisiana, June 12, 2018.
Case 2:12-cv-00859-LMA-MBN Document 1163 Filed 06/12/18 Page 2 of 2



                              _______________________________________
                                      LANCE M. AFRICK
                              UNITED STATES DISTRICT JUDGE




                                 2
